
772 So.2d 660 (2000)
Phyllis H. CLARK, Individually, and as natural Tutrix of her Minor Children, Kevin D. Clark and Keith R. Clark,
v.
Kirk A. MITCHELL, Gilbert Parker, Jr., Louisiana Indemnity Company, the State of Louisiana Through the Department of Transportation &amp; Development, T.L. James &amp; Co., Inc. and the Parish of Terrebonne, through the Terrebonne Parish Consolidated Government.
Kirk A. Mitchell
v.
Louisiana Department of Transportation &amp; Development and Terrebonne Parish Consolidated Government.
No. 2000-C-2374.
Supreme Court of Louisiana.
November 3, 2000.
Denied.
